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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, THE STATE
OF CALIFOR.7\TIA, THE STA TE OF
DELAWARE, THE STA TE OF FLORIDA,
THE STATE OF GEORGIA, THE STATE OF
HAWAII, THE STATE OF ILLINOIS, THE
STATE OF INDIANA, THE STATE OF
LOUISIANA, THE STA TE OF MICHIGAN,
THE STATE OF MO;\'TANA, THE STATE OF
NEV ADA, THE STATE OF NEW JERSEY,
THE STATE OF NEW MEXICO, THE STATE
OF NEW YORK, THE STATE OF
OKLAHOMA, THE STATE OF RHODE
ISLAND, THE STATE OF TENNESSEE, THE
STA TE OF TEXAS, THE STA TE OF
WISCONSIN, THE COMMONWEALTH OF
MASSACHUSETTS, TIIE
COM~ONWEAL TH OF VIRGINIA, the
DISTRICT OF COLCMBIA, the CITY OF
CHICAGO, THE STATE OF CONNECTICUT,
THE STATE OF COLORADO, THE STATE
OF MARYLAND, THE STATE OF IOWA,
THE STATE OF WASHINGTON ex rel.                          Civil Action No. 12-CV-175 (BMS)
CHARLES STRUNCK and LISA PRATTA,
individually and Relator,

                    Plaintiffs,

               V.

MALLINCKRODT ARD, INC. (formerly known
as Questcor Pharmaceuticals, Inc., a California
corporation), AND MALLINCKRODT plc, an
Irish public limited company

                      Defendants.

                            STIPULATED BRIEFING SCHEDULE                                    '

       Plaintiff United States of America, Relators Charles Strunck and Lisa Pratta, and

Defendants   ~allinckrodt   ARD, Inc. (formerly known as Questcor Pharmaceuticals, Inc.)
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and Mallinckrodt pie (collectively, "Mallinckrodt"), by and through their undersigned

counsel, hereby stipulate and agree as follows:

        1.      Relators Strunck and Pratta filed their original complaint in this action under seal

on January 17, 2012, and filed three subsequent amended complaints thereafter. The most recent

amended complaint, the Fourth Amended Complaint, was filed under seal on June 13, 2017.

(ECF No. 40.)

       2.       On March 7, 2019, the United States filed its Notice of Intervention and, on

March 8, 2019, the Court ordered that Relators' Fourth Amended Complaint and the United

States' Notice of Intervention be unsealed. (ECF Nos. 55, 56.) The original complaint, the First

Amended Complaint, the Second Amended Complaint, and the Third Amended Complaint

remain under seal.

       3.       On June 4, 2019, the United States filed its Complaint-in-Intervention. (ECF 57.)

       4.       On June 10, 2019, Mallinckrodt executed waivers of service provided by the

United States and Relators' counsel. Mallinckrodt reserves all rights, defenses, or other

objections, other than insufficient process or insufficient service of process. Mallinckrodt's

response to the United States' Complaint-in-Intervention is currently due on August 5, 2019.

       5.       Mallinckrodt anticipates that it will move to dismiss Relators' Fourth Amended

Complaint and the Gnited States' Complaint-in-Intervention.

       6.       Mallinckrodt shall have until August 19, 2019 to respond to Relators' Fourth

Amended Complaint and to the United States' Complaint-in-Intervention, whether by answer,

motion or otherwise.

       7.       The United States and Relators shall have until September 24, 2019 to file their

respective responses to any motions to dismiss filed by Mallinckrodt.




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        8.      'Mallinckrodt shall have until October 3, 2019 to file a reply in support of any

motions to dismiss that it files.

        9.      Mallinckrodt has not previously requested an extension of time to respond to the

Relators' complaint or to the United States' Complaint-in-Intervention. :\o party has previously

requested an extension of time to file briefs in support of or in opposition to motions to dismiss.

        10.     Nothing in this Stipulation shall affect the circumstances under which the United

States may amend its Complaint-in-Intervention pursuant to Federal Rule of Civil Procedure 15

("Rule 15"), or the applicability of Rule 15 to any such amendment.

STIPULATED TO BY:

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       Attorneys for Relators Charles Strunck and
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                                                ~~~VvL
                                                BERLE M. SCHILLER, J.
                                                Cnited States District Court Judge




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